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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                                                         Case No.:

  MICHAEL CRUZ,
  an individual,

           Plaintiff,



  ALLIED INTERSTATE, LLC, a Foreign
  Limited Liability Company,

           Defendant.


                         COMPLAINT AND DEMAND FOR JURY TRIAL

          Plaintiff, MICHAEL CRUZ, by and through the undersigned counsel (hereinafter,

 "Plaintiff'), hereby sues Defendant, ALLIED INTERSTATE, LLC, a foreign corporation

 (hereinafter, "Defendant") for violation of the Telephone Consumer Protection Act, 47 U.S.0

 §227, et seq. ("TCPA") and in support thereof states as follows:

                                        BRIEF INTRODUCTION

                  This is an action for damages under the Telephone Consumer Protection Act

 ("TCPA") resulting from Defendant's relentless debt collection calls using an automated

 telephone dialing system ("ATDS") and a pre-recorded voice ("robo-call").

                  Under the TCPA, both ATDS and robo-calls are unlawful when made to a

 cellphone, unless made with the recipient's prior express-written-consent.' However, even where




  I See In the Matter of Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, 27 FCC
  Rcd. 1830, 1844 1133 (2012); 47 U.S.C. § 227(b)( I )(MOD; see also 47 C.F.R. § 64,1200(a)(2).




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 consent is initially provided, the call recipient has the absolute right to revoke consent by any

 reasonable means, including orally.2

                    Importantly, it is Defendant's burden to demonstrate that Plaintiff provided his

 prior express consent within the meaning of the statute and that this consent was not revoked.

                    Neither TCPA nor this Action's purpose is to exculpate consumers from

 accountability, but rather, to hold Defendant liable for its willful ignorance of the statutes and

 restrictions that place constraints on how Defendant may contact Plaintiff to seek accountability.

                                PARTIES, JURISDICTION, AND VENUE

                    Plaintiff is a natural person and citizen of the State of Florida.

                    Defendant's principal place of business is in Plymouth, MN.

                    This Court has federal question jurisdiction under 28 U.S.C. § 1331 and 47 U.S.C.

 § 227(b)3 because this case arises out of violations of federal law.

                     Venue is proper in this Court pursuant to 18 U.S.C. § 1391(b)(2), because

 Defendant transacts substantial business in the forum and the violative telephone calls at issue

 were placed in the forum.

                                          FACTUAL ALLEGATIONS

                    In March 2018, Defendant began placing autodialed and/or prerecorded calls to

 Plaintiffs cellphone number xxx-xxx-8346.

                    Plaintiff did not and has not expressly consented to Defendant's ATDS calls to

 Plaintiffs cellphone.

                     Plaintiff did not and has not expressly consented to Defendant's robo-calls to

 Plaintiffs cellphone.


 2See In re Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, ¶ 64, CG Docket No. 02-278,
 WC Docket No. 07-135, 2015 WL 4387780,            F.C.C.       (July 10, 2015); Coniglio v. Bank of Am., N.A., No.
 8:14-cv-01628-EAK-MAP, 2014 U.S. Dist. LEX1S 149764, 2014 WL 5366248, at *3 (M.D. Fla. 2014) citing
 Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1255 (I I th Cir. 2014)

 3   See Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740 (2012).



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               On March 2, 2018, during a recorded call, Plaintiff revoked any indicia of

 consent, demanding that Defendant stop calling him.

               Nonetheless. Defendant continued to place auto-dialed calls to Plaintiffs cell

 phone.

               Again, on April 27, 2018, during a recorded call, Plaintiff revoked any indicia of

 consent, demanding that Defendant stop calling him.

               Nonetheless, Defendant continued to place auto-dialed calls to Plaintiffs cell

 phone.

               For a third time, on May 21, 2018, during a recorded call, Plaintiff revoked any

 indicia of consent, once again demanding that Defendant stop calling him.

                Each time Plaintiff revoked consent, he referenced the previous revocations.

               Nonetheless, Defendant continued to place auto-dialed calls to Plaintiffs cell

 phone.

                Despite Plaintiffs explicit revocation on three (3) different occasions, Defendant

 continued to call Plaintiff and placed over one-hundred and fifty (150), autodialed and

 prerecorded phone calls to Plaintiffs cellphone after Plaintiff revoked consent.

                Many of the calls used "an artificial or prerecorded voice" or left pre-recorded

 messages as described in 47 U.S.C. § 227(b)(1)(A).

                Many of the calls began with long periods of silence or included dead air

 preventing Plaintiff from speaking to a representative to again demand that the calls cease.

                It is apparent that Defendant's calls to Plaintiffs cellphone were made using an

 ATDS as defined by 47 U.S.C. § 227(a)(1) for the following reasons:

                  i.    the number of calls in a short period of time;

                        the consistency of calls;

                        the number of daily calls;



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                       the consistent pattern of daily call times;

                       the long initial silence during each call; and

                       the robotic/prerecorded voice used during calls and voicemails.

                Plaintiff was relentlessly forced to answer unwanted calls, listen to multiple

 prerecorded voicemails, or at a minimum, have his days and nights interrupted at least one-

 hundred and fifty (150) or more times by unwanted incoming calls.

                Defendant's repeated calls were not only time consuming, but abusive and

 harassing, and deprived Plaintiff of his statutorily created right to be free from such continued

 privacy intrusion.

                None of Defendant's phone calls were placed for "emergency purposes" as

 specified in 47 U.S.0 § 227 (b)(1)(A).

                Defendant's telephone calls to Plaintiff's cellphone, which were placed through

 the use of an "artificial or prerecorded voice," and ATDS for non-emergency purposes, and in

 the absence of Plaintiff's prior express consent, violated 47 U.S.C. § 227(b)(1)(A).

                Upon information and belief, Plaintiffs experience is typical of that of other

 consumers, and that Defendant maintains a coordinated program of calling customers using an

 "automatic telephone dialing system" and/or "an artificial or prerecorded voice."

                Based on, amongst other things, the incessant number calls placed without

 consent, and the outrageous volume of calls, Defendant willfully or knowingly violated the

 TCPA.

                As a result of the forgoing, Plaintiff has suffered damages including, without

 limitation violation of statutorily created rights, invasion of privacy, mental anguish, stress, and

 interference with employment.




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                                          COUNT I
                                   VIOLATION OF THE TCPA

         Plaintiff reaffirms, realleges, and incorporates by reference Paragraphs 1 through 28 as if

 fully set forth herein.

                 Defendant or others acting on its behalf, placed non-emergency phone calls to

 Plaintiff's cellphone using an automatic telephone dialing system, and pre-recorded or artificial

 voice in violation of 47 U.S.0 § 227 (b)(1)(A)(iii).

                 Defendant continued to make such calls without Plaintiff's consent.

                 Defendant continued make such calls despite Plaintiffs explicit demand to stop.

                 Defendant willfully or knowingly violated the TCPA.

                 As a result of the forgoing, Plaintiff has suffered damages.

         WHEREFORE, Plaintiff requests that this Court enter judgment in favor of Plaintiff and

 against Defendant for: $500.00 dollars in statutory damages for each violation of the TCPA;

 $1,500.00 dollars in statutory damages for each knowing, or willful, violation of the TCPA; a

 declaratory judgment that Defendant has violated Plaintiffs rights under the TCPA; a permanent

 injunction prohibiting Defendant from placing non-emergency phone calls to Plaintiffs cell

 phone using an automatic telephone dialing system, or pre-recorded and/or artificial voice; actual

 damages as provided for in the TCPA; litigation costs; and such other or further relief as the

 Court deems proper.




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                                       JURY TRIAL REQUEST

         Plaintiff respectfully requests a jury trial on all issues so triable.

 Respectfully submitted 13th day of July, 2018, by:

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